         Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 1 of 13 PageID #:1



                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JOSE FEMATT,                               )
                                           )
                    Plaintiff,             )
                                           )
               vs.                         )                  No. 11 CV 1530
                                           )
                                           )                  Judge
The CITY OF CHICAGO, Illinois, a municipal )
Corporation, and MARGARET HOPKINS,         )                  Magistrate Judge
#5455, DONOVAN MARKIEWICZ, #17092, )
WILLIAM MORALES, #15318, TIMOTHY           )
PARKER, #6499, PAUL ZOGG, #9345,           )
KEITH HERRERA, #17289, and JEROME          )
FINNIGAN, #5167,                           )
                                           )
                    Defendants.            )

                                                COMPLAINT

          Plaintiff, by and through his attorneys, The Hamilton Law Office, LLC, makes the following

complaint against Defendant CITY OF CHICAGO, (“Defendant City”) and Defendant Chicago

Police Officers (or former Chicago Police Officers) MARGARET HOPKINS, DONOVAN

MARKIEWICZ, WILLIAM MORALES, TIMOTHY PARKER, PAUL ZOGG, KEITH

HERRERA and JERMOME FINNIGAN (“Defendant Officers”):

                                      JURISDICTION AND VENUE

    1.       This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation under color of law

of Plaintiff's rights as secured by the United States Constitution.

    2.       This Court has jurisdiction of the action pursuant to 28 U.S.C. §§ 1331 and 1343.

    3.       Venue is proper under 28 U.S.C. § 1391(b). All parties reside in this judicial district and the

events giving rise to the claims asserted in this complaint occurred within this district.
       Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 2 of 13 PageID #:2



                                              THE PARTIES

    4. Plaintiff Jose Fematt is a nineteen-year-old resident of the City of Chicago, Illinois.

    5. Defendant City is a municipal corporation incorporated under the laws of the State of

Illinois.

    6. Defendant Officers, are or were, at all times relevant to this complaint, Chicago Police

officers, employed by the City of Chicago and acting under color of law and within the scope of

their employment.

                                                   FACTS

    7. In August of 2005, when plaintiff thirteen years’ old, he lived with his mother and younger

sister in the first floor apartment at 2032 North Keeler, Chicago, Illinois.

    8. On the night of August 12, 2005, Plaintiff and his sister were at home inside their apartment.

Their mother was at work.

    9. Plaintiff and his sister were in their pajamas, watching television together on the couch in

their living room when Plaintiff saw flashlights and heard noises outside.

    10.     Shortly thereafter, Defendant Officers broke down Plaintiff’s front door and entered

Plaintiff’s apartment without a warrant, or any other legal justification to do so.

    11.     Defendant Officers pointed guns at the two children and yelled at them.

    12.     Without legal justification, Defendant Officers searched Plaintiff and his apartment.

    13.     Defendant Officers placed Plaintiff in excessively tight handcuffs and forced him to go

outside into the front hallway of his building.

    14.     Defendant HOPKINS ordered him to sit on the front stairs while she and other

Defendant Officers questioned Plaintiff at length about his upstairs neighbor.

    15.     Defendant Officers did not have reasonable suspicion or probable cause, or any other

legal justification to stop, search, or question Plaintiff.

                                                                                                      2
      Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 3 of 13 PageID #:3



    16.     Defendant HOPKINS and other Defendant Officers then forced Plaintiff, handcuffed,

barefoot and still in his pajamas, outside and into the back of a Chicago Police car.

    17.     Plaintiff was worried about his sister who was only four years old at that time, and who

was still inside the apartment with the other Defendant Officers, but Defendant Officers would not

allow Plaintiff to go to his sister.

    18.     Defendant Officers had placed the handcuffs around Plaintiff’s wrists so tightly that he

could not sit upright in the back of the police car because sitting placed too much pressure on his

handcuffed wrists. Plaintiff had to lay down in the back seat in order to relieve the pressure on his

wrists.

    19.     Defendant Officers left Plaintiff in the back of the police car like this for some unknown

period of time.

    20.     Then Defendant HOPKINS got into the police car and started to drive.

    21.     Plaintiff did not know where Defendant HOPKINS was taking him or why.

    22.     Defendant HOPKINS drove Plaintiff around the neighborhood threatening Plaintiff

and insisting that he give her information about his upstairs neighbor and about drugs in his

apartment building.

    23.     After several minutes, Defendant HOPKINS returned with Plaintiff to 2032 North

Keeler, Chicago, Illinois.

    24.     Defendant HOPKINS then took Plaintiff, still tightly handcuffed, back into the front

hallway of his apartment building and ordered him to sit on the steps again, while her partner

Defendant Officers continued their search of 2032 North Keeler.

    25.     Sitting on the stairs caused Plaintiff additional pain to his wrists.

    26.     After some time, Defendant HOPKINS warned Plaintiff that if anyone came asking

what he saw here tonight that he better not tell anyone, or else, she threatened, she and her fellow

                                                                                                        3
      Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 4 of 13 PageID #:4



Defendant Officers would come after him and put him in jail for a long time.

    27.     Plaintiff was then released from the handcuffs and allowed to return to his apartment.

    28.     Plaintiff’s apartment was in total disarray when he returned. Defendant Officers had

ransacked his family’s apartment; all the drawers and closets had been emptied onto the floor. Their

television had been smashed, and it and many other of his family’s belongings were broken and

laying on the floor.

    29.     When Plaintiff’s mother arrived home from work later that night, Plaintiff was standing

in the middle of a ruined apartment, frightened, wide-eyed and awake in the middle of the night.

    30.     The handcuffs left circular abrasions around Plaintiff’s wrists and they remained red and

swollen for several days after the handcuffs were removed.

    31.     Plaintiff and his family left their apartment that night and Plaintiff never returned.

Unable to stay there for fear Defendant Officers would return, Plaintiff stayed with other family

members until his mother found them a new apartment.

                                     The Pattern of Misconduct

    32.     Officers assigned to the Special Operations Section (“SOS”) were given free range by the

Department to violate the law in order to bring in high numbers or arrests, guns, and drugs.

    33.     The SOS’s Standing Operating Procedure stated that officers who did not have high

enough productivity (bringing in arrests, guns, etc.) would be removed from the unit.

    34.     The SOS officers were allowed to abuse citizens and the criminal court processes by,

among other things, using excessive force, making false arrests and police reports, stealing,

fabricating and/or withholding evidence, and illegally searching homes and property.

    35.     The SOS unit employed the practices enumerated above openly and with impunity, and

its officers were even encouraged to do so.




                                                                                                      4
      Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 5 of 13 PageID #:5



    36.     On approximately June 25, 1999, the Commanding Officer of the Special Operations

Section issued a memorandum instructing that if SOS officers were questioned by Department

inspectors about their compliance with Departmental policies, they should practice their stories

together prior to giving a statement. The memorandum goes on to state that he would “back” the

officers whether they were right or wrong. That memorandum became a part of the unit’s Standard

Operating Procedures Packet.

    37.     Going back to at least 2002, the Chicago Police Department amassed hundreds of

complaints related to the above practices by the Special Operations Section officers, but routinely

“not-sustained” or “unfounded” them without any thorough investigation.

    38.     Members of the SOS unit themselves were frequently assigned to be the “investigators”

of the complaints of misconduct by their fellow SOS officers.

    39.     After years without any action by the Department, in approximately 2006, the Cook

County State’s Attorney’s Office noticed the pattern in the criminal cases brought by the SOS

officers.

    40.     Unlike the Department, the State’s Attorney’s Office took action. It investigated and

criminally indicted SOS officers for the same pattern of misconduct at issue here.

    41.     In August 2006, the Cook County State’s Attorney’s Office filed criminal charges

against defendants Herrera, Finnigan, and Hopkins alleging that they engaged in criminal acts

similar to the events described above.

    42.     In January 2007, a Cook County Grand Jury returned indictments of Defendants

HERRERA, FINNIGAN, and HOPKINS, for armed violence, residential burglary, theft,

aggravated unlawful restraint, unlawful arrest, obstructing justice, and official misconduct.

    43.     On September 23, 2009, Defendant HOPKINS pleaded guilty to fabricating police

reports in order to justify Defendant Officers’ unlawful entry into the Keeler residence, among other

                                                                                                      5
      Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 6 of 13 PageID #:6



things. HOPKINS admitted that she formed an agreement with other officers, including, but not

limited to, Defendants FINNIGAN, MARKIEWICZ, and HERRERA, to cover up the misconduct

of the Defendant Officers and that Defendant FINNIGAN led the discussion about the conspiracy.

                                  The City’s Deliberate Indifference

    44.      The City of Chicago maintains a de facto policy, practice and custom of failing to

properly train, supervise, discipline and control its officers, which was the moving force behind the

violations of the Plaintiffs’ constitutional rights.

    45.      The City Council is the final policymaker for the Chicago Police Department. Within

the City Council, the Committee on Police and Fire has jurisdiction over all matters relating to the

Police Department.

    46.      The Superintendent to the Police is the chief executive officer of the police department.

By authority delegated to him by municipal ordinance, he has the authority to issue department

directives, to issue instructions to the CPD's employees, and to take disciplinary action against the

employees.

    47.      Municipal policy-makers have long been aware of the City’s policy and practice of failing

to properly train, monitor and discipline its police officers who engage in misconduct.

    48.      In 1999, following two high profile incidents of excessive force, the City Council held

public hearings on the prevalence of excessive force, as well as the failure of the Department’s

disciplinary system. At those hearings, members of the Council assured the public that changes

would be made to the Chicago Police Department policies and practices to address these issues.

    49.      On September 28, 1999, the then Superintendent of police gave a speech highlighting

problems with the City of Chicago’s policies and practices relating to the use of force.

Superintendent Hillard spoke specifically of the need for (1) better in-service training on the use of




                                                                                                         6
      Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 7 of 13 PageID #:7



force; (2) early detection of potential problem officers; (3) an effective disciplinary system, and (4)

officer accountability for the use of force.

    50.     In January 2000, the Chairman of the Committee on Police and Fire of the Chicago City

Council submitted an official resolution recognizing that “[Chicago] police officers who do not carry

out their responsibilities in a professional manner have ample reason to believe that they will not be

held accountable, even in instances of egregious misconduct.”

    51.     A study performed a year later by the Justice Coalition of Greater Chicago (“JCGC”), a

coalition of more than a hundred community groups, confirmed that resolution. Specifically, the

JCGC study concluded that the Chicago Police Department lacked many of the basic tools necessary

to identify, monitor, punish and prevent police misconduct and brutality. The JCGC findings were

presented to Mayor Daley, Superintendent Hillard and the Chicago Police Board.

    52.     Two years later, a federal jury in the case of Garcia v. City of Chicago, No. 01 C 8945, 2003

WL 22175618, at *2 (N.D. Ill. Sept. 19, 2003) affirmed that the City’s police misconduct

investigations were systematically “incomplete, inconsistent, delayed, and slanted in favor of the

officers” and as a result, fostered a culture of impunity within the Chicago Police Department. The

“City of Chicago's custom and practice of not adequately investigating, disciplining, or prosecuting

off duty Chicago police officers who use excessive force against individuals” was found to have

directly caused the constitutional harm. Id. at *1.

    53.     Phillip Cline, the Superintendent of the City of Chicago’s Police Department at the time

of the events complained of herein, was aware of a pattern of alleged misconduct within the Special

Operations Section, including by the Defendant Officers, but took no action to remove the

Defendant Officers from street duty. Further, Cline failed to alert prosecutors and/or the plaintiff or

plaintiffs’ criminal defense attorneys of a pattern of misconduct by the Defendant Officers before or

during the criminal proceedings against Plaintiffs.

                                                                                                            7
      Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 8 of 13 PageID #:8



    54.     Cline did not communicate the pattern of allegations of misconduct by the SOS officers

to the City’s Police Board or the City Council before August 12, 2005, when Defendant Officers

invaded Plaintiff’s home and carried him away in a CPD vehicle.

    55.     In 2007, the City held a press conference in which then-Superintendent Cline and head

of Internal Affairs, Debra Kirby, publicly acknowledged the pattern of SOS misconduct and that the

Department had been aware of the problem since 2003.

    56.     In the summer of 2008, Police Superintendent Weiss gave the following statement on

the nationally broadcast television program 60 Minutes:

                “I think there probably was an atmosphere that, ‘Hey, we’re above
                the law. We’re getting great stats. We’re pulling guns off the street,
                we’re taking down drug dealers. Yeah, maybe we are breaking the
                rules, maybe we are breaking the laws, but look what we’ve
                accomplished.’ They lost their way, and it saddens me because
                supervisors have a lot of power, and if they’re encouraging their
                people to engage in misconduct, or actually in some instances, to
                even engage in criminal activity, that is horrific, in my eyes.”

    57.     Although the City of Chicago had long been aware that its supervision and discipline of

police officers was entirely inadequate, as of May 18, 2006 it had not enacted any measures to

address that failure. Redress that was specifically promised by the City Council and the

Superintendent went unfilled.

    58.     For example, the City failed to institute any system for recognizing problem officers or

to ensure an effective disciplinary system.

    59.     At the time of the events at issue in this case, the Department had not implemented any

written policy, practice or procedure to conduct pattern analysis of complaints of misconduct against

Chicago police officers. Thus, officers such as those in the Special Operations Sections were able to

accumulate large numbers of complaints of similar misconduct without fear of disciplinary action.




                                                                                                        8
      Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 9 of 13 PageID #:9



    60.     At the time of the events at issue in this case, the City’s Police Board did not have in

place a protocol whereby its members received notice of a pattern of, or number of, complaints,

lawsuits, and/or settlements against officers for whom discipline was recommended.

    61.     At the time of the events at issue in this case, the City’s Police Superintendent did not

have in place a protocol whereby he received notice of a pattern of, or number of, complaints,

lawsuits, and/or settlements against officers for whom discipline was recommended.

    62.     As a result of the City’s policies, practices and customs, its officers were emboldened by

their knowledge that they were “above the law” and would not be held accountable for their

misconduct.

    63.     At the time of the events described above, the Defendant Officers knew that the City

would not subject them to any meaningful investigation and discipline. Their misconduct in this

case was a direct result of the City’s failure to adequately discipline and control its officers.

                                              COUNT I
                                  (42 U.S.C. § 1983: Unlawful Search)

    64.     Each of the foregoing paragraphs is incorporated as if fully restated here.

    65.     As more fully described above, Defendant Officers entered and searched Plaintiff’s

home and Plaintiff himself, without a warrant, probable cause, or any other legal justification to do

so, in violation of Plaintiff’s rights under the Fourth Amendment to the United States Constitution.

    66.     The misconduct described in this count was objectively unreasonable and was

undertaken intentionally with willful indifference to Plaintiff’s constitutional rights.

    67.     On information and belief, one or more of Defendant Officers who did not participate

in the unlawful search of Plaintiff and/or his home, and had a reasonable opportunity to intervene

to prevent harm to Plaintiff, but failed to do so.

    68.     As a direct and proximate result of this illegal search, Plaintiff suffered damages,

including emotional damages, which will be proven at trial.
                                                                                                         9
      Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 10 of 13 PageID #:10



            WHEREFORE, Plaintiff prays for judgment against Defendant Officers and in a fair and

just amount sufficient to compensate him for the injuries he has suffered. Plus, Plaintiff seeks a

substantial sum in punitive damages against Defendant Officers, costs and reasonable attorney fees,

and all such other relief as this Court finds just and equitable.

                                                COUNT II
                             (42 U.S.C. § 1983: Unlawful Seizure/False Arrest)

      69.       Each of the foregoing paragraphs 1-63 is incorporated as if fully restated here.

      70.      As more fully described above, Defendant Officers detained Plaintiff, without a warrant,

probable cause, or any other legal justification to do so, in violation of Plaintiff’s rights under the

Fourth Amendment to the United States Constitution.

      71.      The misconduct described in this count was objectively unreasonable and was

undertaken intentionally with willful indifference to Plaintiff’s constitutional rights.

      72.      On information and belief, one or more of Defendant Officers who did not participate

in the unlawful seizure of Plaintiff, had knowledge of the unlawfulness of his or her fellow officers’

actions, and had a reasonable opportunity to intervene to prevent harm to Plaintiff, but failed to do

so.

      73.      As a direct and proximate result of this illegal seizure, Plaintiff suffered damages,

including emotional damages, which will be proven at trial.

            WHEREFORE, Plaintiff prays for judgment against Defendant Officers and in a fair and

just amount sufficient to compensate him for the injuries he has suffered. Plus, Plaintiff seeks a

substantial sum in punitive damages against Defendant Officers, costs and reasonable attorney fees,

and all such other relief as this Court finds just and equitable.

                                               COUNT III
                                    (42 U.S.C. § 1983: Excessive Force)

      74.      Each of the foregoing paragraphs 1-63 is incorporated as if fully restated here.

                                                                                                    10
     Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 11 of 13 PageID #:11



    75.      As more fully described in the preceding paragraphs, the intentional conduct of

Defendant Officers toward Plaintiff was objectively unreasonable and constituted excessive force in

violation of the Fourth Amendment to the United States Constitution.

    76.      The misconduct described in this count was undertaken intentionally with willful

indifference to Plaintiff’s constitutional rights.

    77.      On information and belief, one or more of Defendant Officers were aware of their

fellow officers’ use of excessive force against Plaintiff, had a reasonable opportunity to intervene to

prevent it, but failed to do so.

    78.      As a direct and proximate result of Defendant Officers’ use of excessive force, Plaintiff

suffered physical and emotional damages which will be proven at trial.

          WHEREFORE, Plaintiff prays for judgment against Defendant Officers in a fair and just

amount sufficient to compensate Plaintiff for the injuries he has suffered, plus a substantial sum in

punitive damages, as well as costs, attorney’s fees, and such other relief as is just and equitable.

                                            COUNT IV
                      (42 U.S.C. Section 1983: Conspiracy to Deprive Constitutional Rights)

    79.      Each of the foregoing paragraphs is incorporated as if fully restated here.

    80.      As described more fully above, the Defendants reached an agreement to unlawfully enter

and search Plaintiff’s home and his person, and to unlawfully detain Plaintiff, and use excessive

force against him, and thereby deprive Plaintiff of his Constitutional rights, all as described more

fully throughout this Complaint.

    81.      Each of the Defendant Officers further conspired to cover up their misconduct with

respect to their actions at 2032 North Keeler on August 12, 2005.

    82.      In furtherance of the conspiracy, each of the co-conspirators committed overt acts and

was an otherwise willful participant in joint activity.


                                                                                                       11
     Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 12 of 13 PageID #:12



    83.      The misconduct described in this Count was undertaken with malice, willfulness, and

reckless indifference to the rights of Plaintiff.

    84.      As a result of the Defendants’ conduct, Plaintiff suffered pain and injury, as well as

emotional distress, and a deprivation of his liberty.

          WHEREFORE, Plaintiff prays for judgment against Defendant Officers in a fair and just

amount sufficient to compensate Plaintiff for the injuries he has suffered, plus a substantial sum in

punitive damages, as well as costs, attorney’s fees, and such other relief as is just and equitable.


                                              COUNT V
                  (42 U.S.C. § 1983: Monell Policy Claim Against the City of Chicago)

    85.      Each of the foregoing paragraphs is incorporated as if fully restated here.

    86.      The misconduct described in the preceding paragraphs was undertaken pursuant to the

policy and practice of the Chicago Police Department in that:

                     a. As a matter of both policy and practice, the Chicago Police Department

directly encourages, and is thereby the moving force behind, the very type of misconduct at issue

here by failing to adequately discipline, supervise and control its officers, such that its failure to do

so manifests deliberate indifference;

                     b.   As a matter of both policy and practice, the Chicago Police Department

facilitates the very type of misconduct at issue here by failing to adequately punish and discipline

prior instances of similar misconduct, thereby leading Chicago police officers to believe their actions

will never be scrutinized and, in that way, directly encouraging future abuses such as those affecting

Plaintiff; specifically, Chicago police officers accused of misconduct can be confident that the

Department will not investigate those accusations in earnest, and will refuse to recommend

discipline even where the Officer has engaged in misconduct;

                     c. Generally, as a matter of widespread practice so prevalent as to comprise


                                                                                                            12
     Case: 1:11-cv-01530 Document #: 1 Filed: 03/04/11 Page 13 of 13 PageID #:13



municipal policy, officers of the Chicago Police Department abuse citizens in a manner similar to

that alleged by Plaintiff on a frequent basis, yet the Chicago Police Department makes findings of

wrongdoing in a disproportionately small number of cases;

                     d. Municipal policy-makers are aware of, and condone and facilitate by their

inaction, a "code of silence" in the Chicago Police Department, by which officers fail to report

misconduct committed by other officers, such as the misconduct at issue in this case;

                     e. As a matter of express policy, the City of Chicago does not retain any records

which are more than seven years old documenting allegations of excessive force against police

officers, thereby preventing the City from ascertaining any patterns of abuse which might develop

over the course of a police officer's career; and

                     f. Further, the City fails to utilize even the records that are retained to identify

and respond to patterns of misconduct by its officers.

    87.      As a proximate result of the above-detailed actions of Defendants, Plaintiff was injured,

including physical injuries and emotional distress.

          WHEREFORE, Plaintiff requests that judgment be entered in favor of Plaintiff and against

the Defendant City and that plaintiff be awarded compensatory damages, reasonable attorneys’ fees,

costs, and expenses.

PLAINTIFF DEMANDS TRIAL BY JURY.
                                                             Respectfully Submitted,

                                                             JOSE FEMATT, Plaintiff,

                                                      By:    /s/ Torreya L. Hamilton
                                                             Attorney for Plaintiff

HAMILTON LAW OFFICE, LLC
11 South LaSalle St., Suite 1000
Chicago, IL 60603
312.726.3173
Attorney No.: 6229397


                                                                                                        13
